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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                       Case No. 19-cv-06131
               Plaintiff,

v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.


                                          COMPLAINT

       Plaintiff Chapter 4 Corp. (“Plaintiff”) hereby brings the present action against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain
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Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using infringing and

counterfeit versions of Plaintiff’s trademarks. Each of the Defendants has targeted sales from

Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold products using

infringing and counterfeit versions of Plaintiff’s trademarks to residents of Illinois. Each of the

Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                       II. INTRODUCTION

       3.      This action has been filed by Plaintiff to combat Internet Store operators who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale unauthorized and

unlicensed products, including clothing, hats, accessories and other goods, using infringing and

counterfeit versions of the SUPREME federally registered trademarks (the “Counterfeit

SUPREME Products”). The Defendants create the Defendant Internet Stores by the dozens and

design them to appear to be selling genuine products, while actually selling Counterfeit SUPREME

Products to unknowing consumers, and/or selling Counterfeit SUPREME Products advertised as

“replica” goods. Many of the Defendant Internet Stores share unique identifiers, such as design

elements and similarities of the Counterfeit SUPREME Products offered for sale, establishing a

logical relationship between them and suggesting that Defendants’ counterfeiting operation arises

out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid liability by going to great lengths to conceal both their identities and/or the full



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scope and interworking of their counterfeiting operation. Plaintiff is forced to file this action to

combat Defendants’ counterfeiting of its registered trademarks, as well as to protect unknowing

consumers from purchasing Counterfeit SUPREME Products over the Internet. Plaintiff has been

and continues to be irreparably damaged through consumer confusion, dilution, and tarnishment

of its valuable trademarks as a result of Defendants’ actions and seeks injunctive and monetary

relief.

                                        III. THE PARTIES

Plaintiff

           4.    Chapter 4 Corp. is a New York corporation with a principal place of business at 62

King Street, New York, New York 10014.

           5.    Plaintiff is an apparel company that was started in 1994 in downtown New York

City, specializing in the sale of streetwear and downtown, counter-culture clothing and a wide

range of other products displaying the SUPREME mark. The Supreme brand quickly developed

a following among skaters, graffiti artists, underground filmmakers, and musicians.

           6.    In August 2017, Vogue chronicled the history of Supreme in an article entitled

“Charting the Rise of Supreme, From Cult Skate Shop to Fashion Superpower,” and noted that “a

brand that started out in a small store . . . has since inched its way to legendary global status” and

that “the passionate devotion of their customers has brought it into the conversation with both

teenagers at skateboard parks and the front rows of high fashion . . .” Attached hereto as Exhibit

1 is a true and correct copy of the Vogue article.

           7.     Plaintiff carefully plans and curates in design collections each season to provide

its customers with unique apparel and products.




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       8.      Plaintiff’s clothing and accessories (the “SUPREME Products”) are inspired by

youth culture and style that appeal not only to its traditional customer base, but also to the

consuming public at large.

       9.      Plaintiff has worked with groundbreaking designers, artists, photographers and

musicians on several collaborations, including skateboard decks by artists such as Takashi

Murakami, Jeff Koons, Richard Prince, Christopher Wool, Nate Lowman, and Damien Hirst.

Working with generations of artists, photographers, designers, musicians, filmmakers, and writers

that have defied conventions has contributed to Plaintiff’s unique identity and consumer following.

       10.     Plaintiff has also partnered with many prominent global brands in highly publicized

collaborations, including those with Louis Vuitton Malletier, Nike/Air Jordan, The North Face,

Levi's, Timberland, Comme des Garçons, and Lacoste.

       11.     The wide appeal of SUPREME Products has frequently been commented upon by

the media, including its popularity among notable musicians, athletes, and entertainers. As Vogue

noted in another 2017 article, “[w]hen it comes to brand loyalty, Supreme fans are hard to beat”

and “its streetwise perspective has served as a fashion unifier . . . its [products] beloved by men

and women on opposite ends of the fashion spectrum.” Attached hereto as Exhibit 2 is a true and

correct copy of the Vogue article.

       12.     SUPREME PRODUCTS and their design have also been recognized in other

segments of the broader culture, including the art world. Plaintiff’s iconic Box Logo trademark,


                    , appearing on a plain white Hanes® t-shirt was recently accepted into the

Museum of Modern Art (“MoMA”) permanent collection.                In Spring 2018, the Thyssen

Bornemisza Museum in Madrid, Spain also displayed in a Louis Vuitton “Time Capsule”

exhibition a co-branded SUPREME and Louis Vuitton skateboard case.

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       13.     SUPREME Products have become collector’s items. Indeed, at the “C.R.E.A.M.:

- Cash Rules Everything Around Me” auction at Artcurial in Paris, billed as the first street culture

auction by a traditional auction house, approximately two thirds of the auction items were

SUPREME Products, and “[p]redictably the brand’s distinctive red and white logo-bedecked

products created the most excitement at auction, with a punching bag going for €20,150, a Fender

guitar for €5,200 and a three-foot by one-foot painted sign for €54,600, eight times its estimated

price.” Exhibit 3 attached hereto is a New York Times article titled “Supreme Invades the Auction

House” about the auction.

       14.     The August 13, 2018 New York Post issue featured a cover advertisement featuring

Plaintiff’s iconic Box Logo trademark. The New York Post dressed its entire newsstand run in a

full wraparound cover with Plaintiff’s Box Logo trademark, which was the first time it had done

so for any brand. The partnership was referred to as “historic:” “Here we have the most New York

fashion brand covering the most New York paper.” The “dramatic cover ad” “turned today’s

tabloid into an impossible to find commodity,” and by mid-morning, copies were reselling on eBay

and resale fashion sites. Exhibit 4 attached hereto is a New York Times article titled “Today’s

Supreme Drop Is All Over the New York Post” about the Supreme/New York Post event.

       15.     SUPREME Products have become enormously popular and even iconic, driven by

the brand’s arduous quality standards and innovative design. Among the purchasing public,

genuine SUPREME Products are instantly recognizable as such.

       16.     SUPREME Products are of high quality and are produced in limited runs to ensure

that high quality. SUPREME Products are predominately made in North America and are sold

exclusively through Plaintiff’s website supremenewyork.com, including to Illinois residents, and

through company-owned stores located in the United States, Europe and Japan. The recognition



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of Supreme as a business providing high quality and innovative products has been confirmed by

the foremost fashion and accessory designer trade association in the United States, the Council of

Fashion Designers of America, Inc. (CFDA), which awarded the company the 2018 Menswear

Designer of the Year award.

       17.      Plaintiff incorporates distinctive marks in the design of its various SUPREME

Products. Plaintiff uses its trademarks in connection with the marketing of its SUPREME

Products, and is the exclusive owner of numerous federally-registered trademarks, including the

following marks which are collectively referred to as the “SUPREME Trademarks.”

 Registration                 Trademark                           Goods and Services
  Number
  4,157,110                   SUPREME                   For: Clothing, namely, shirts, t-shirts,
                                                        long-sleeved shirts, under shirts, polo
                                                        shirts, rugby shirts, jerseys, dress shirts,
                                                        denim jeans, hooded sweat shirts,
                                                        warm-up suits, snow suits, parkas,
                                                        cardigans, pants, jean jackets, cargo
                                                        pants, shorts, boxer shorts, tops, tank
                                                        tops, sweat shirts, sweat jackets, sweat
                                                        shorts, sweat pants, sweaters, vests,
                                                        fleece vests, pullovers, jackets, coats,
                                                        blazers, suits, turtlenecks, reversible
                                                        jackets, wind-resistant jackets, shell
                                                        jackets, sports jackets, golf and ski
                                                        jackets, heavy coats, over coats, top
                                                        coats, swimwear, beachwear, visors,
                                                        headbands, ear muffs, thermal
                                                        underwear, long underwear,
                                                        underclothes, caps, hats, knit caps,
                                                        headwear, scarves, bandanas, belts,
                                                        neckwear, ties, robes, gloves, boots,
                                                        rainwear, footwear, shoes and sneakers
                                                        in class 025.
   4,240,456                  SUPREME                   For: skateboard decks in class 028.



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5,135,326             SUPREME               For: Retail stores, on-line ordering
                                            services and on-line retail store
                                            services, and retail store services
                                            available through computer
                                            communications, featuring clothing,
                                            footwear, headwear, bags, wallets and
                                            skateboard decks in class 035.
5,066,669             SUPREME               For: All-purpose sports and athletic
                                            bags; duffel and travel bags; fanny
                                            packs and waist packs; backpacks;
                                            knapsacks; wallets in class 018.
5,775,727             SUPREME               For: Book, carry-on, gym, shoulder and
                                            tote bags; satchels; luggage; luggage
                                            tags; trunks; suitcases; bags sold empty;
                                            men's clutches; business card cases;
                                            calling and credit card cases; key cases;
                                            leather key chains; billfolds; umbrellas
                                            in class 018.
4,504,231                                   For: Clothing, namely, shirts, t-shirts,
                                            long-sleeved shirts, under shirts, polo
                                            shirts, rugby shirts, jerseys, dress shirts,
                                            denim jeans, hooded sweat shirts,
                                            warm-up suits, snow suits, parkas,
                                            cardigans, pants, jean jackets, cargo
                                            pants, shorts, boxer shorts, tops, tank
                                            tops, sweat shirts, sweat jackets, sweat
                                            shorts, sweat pants, sweaters, vests,
                                            fleece vests, pullovers, jackets, coats,
                                            blazers, suits, turtlenecks, reversible
                                            jackets, wind-resistant jackets, shell
                                            jackets, sports jackets, golf and ski
                                            jackets, heavy coats, over coats, top
                                            coats, swimwear, beachwear, visors,
                                            headbands, ear muffs, thermal
                                            underwear, long underwear,
                                            underclothes, caps, hats, knit caps,
                                            headwear, scarves, bandanas, belts,
                                            neckwear, ties, robes, gloves, boots,
                                            rainwear, footwear, shoes and sneakers
                                            in class 025.

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4,554,309                                   For: skateboard decks in class 028.



5,135,327                                   For: Retail stores, on-line ordering
                                            services and on-line retail store
                                            services, and retail store services
                                            available through computer
                                            communications, featuring clothing,
                                            footwear, headwear, bags, wallets and
                                            skateboard decks in class 035.
5,066,670                                   For: All-purpose sports and athletic
                                            bags; duffel and travel bags; fanny
                                            packs and waist packs; backpacks;
                                            knapsacks; wallets in class 018.
5,763,658                                   For: Book, carry-on, gym, shoulder and
                                            tote bags; satchels; luggage; luggage
                                            tags; trunks; suitcases; bags sold empty;
                                            men's clutches; business card cases;
                                            calling and credit card cases; key cases;
                                            leather key chains; billfolds; umbrellas
                                            in class 018.
5,801,848                                   For: Eyewear; sunglasses; spectacles;
                                            sports eyewear; frames, lenses, cases,
                                            chains, cords and head straps for
                                            eyewear, sunglasses, spectacles and
                                            sports eyewear; sports goggles; cases
                                            for mobile phones; cell phone
                                            backplates; cell phone cases; cell phone
                                            covers; cell phone faceplates; cell phone
                                            straps; downloadable graphics for
                                            mobile phones; vinyl covers specially
                                            adapted for cell phones, MP3 players,
                                            laptops, computers, portable satellite
                                            radios, personal digital assistants,
                                            remote controls, and television satellite
                                            recorders in class 009.




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   5,592,852                                             For: Clothing, namely, shirts, t-shirts,
                                                         tank tops, sweat shirts, long-sleeved
                                                         shirts, under shirts, denim jeans, hooded
                                                         sweat shirts, boxer shorts, tops, sweat
                                                         jackets, sweat shorts, sweat pants,
                                                         sweaters, long underwear, underclothes,
                                                         caps, hats, knit caps, headwear,
                                                         footwear, shoes and sneakers in class
                                                         025.

       18.     The above U.S. registrations for the SUPREME Trademarks are valid, subsisting,

in full force and effect, and some are incontestable pursuant to 15 U.S.C. § 1065. The registrations

for the SUPREME Trademarks constitute prima facie evidence of their validity and of Plaintiff’s

exclusive right to use the SUPREME Trademarks pursuant to 15 U.S.C. § 1057 (b). True and

correct copies of the United States Registration Certificates for the above-listed SUPREME

Trademarks are attached hereto as Exhibit 5.

       19.     The SUPREME Trademarks are distinctive when applied to the SUPREME

Products, signifying to the purchaser that the products come from Plaintiff and are manufactured

to Plaintiff’s exacting quality standards. Whether Plaintiff manufactures the products itself or

contracts with others to do so, Plaintiff has ensured that products bearing the SUPREME

Trademarks are manufactured to the highest quality standards.

       20.     The SUPREME Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1), and have been continuously used and never abandoned. The widespread fame,

outstanding reputation, and significant goodwill associated with the Supreme brand have made the

SUPREME Trademarks valuable assets of Plaintiff.

       21.     Through its collaborative efforts in the creation of unique and trend-setting styles,

as well as Plaintiff’s substantial investment in the design, marketing and promotion of its products,

the SUPREME Trademarks have become well-known for high quality, style and authenticity.

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        22.      Since at least as early as 2006, genuine SUPREME Products have been promoted

at the official supremenewyork.com website.            Sales of SUPREME Products via the

supremenewyork.com website are significant.          The supremenewyork.com website features

proprietary content, images and designs exclusive to the Supreme brand.

        23.     Between 2017-2018 alone, Plaintiff’s website at supremenewyork.com received

billions of hits. Additionally, Plaintiff maintains an Instagram profile, @supremenewyork, that

has over 13 million followers, and a Facebook page that has over 2 million followers. SUPREME

Products have also been the subject of extensive unsolicited publicity resulting from their high-

quality, innovative designs. As a result, products bearing the SUPREME Trademarks are widely

recognized and exclusively associated by consumers, the public, and the trade as being high-

quality products sourced from Plaintiff. SUPREME Products have become among the most

popular of their kind in the U.S. and the world. The SUPREME Trademarks have achieved

tremendous fame and recognition which has only added to the distinctiveness of the marks. As

such, the goodwill associated with the SUPREME Trademarks is of incalculable and inestimable

value to Plaintiff.

The Defendants

        24.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within the State of Illinois and this Judicial

District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and




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continues to sell Counterfeit SUPREME Products to consumers within the United States, including

the State of Illinois.

        25.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of the SUPREME Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

counterfeit network.     In the event that Defendants provide additional credible information

regarding their identities, Plaintiff will take appropriate steps to amend the Complaint.

                         IV. DEFENDANTS’ UNLAWFUL CONDUCT

        26.     The success of the Supreme brand has resulted in its significant counterfeiting.

 Consequently, Plaintiff has a worldwide anti-counterfeiting program and regularly investigates

 suspicious websites and online marketplace listings identified in proactive Internet sweeps and

 reported by consumers. In recent years, Plaintiff has identified hundreds of domain names linked

 to fully interactive websites and marketplace listings on platforms such as iOffer, eBay,

 AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including the Defendant Internet Stores,

 which were offering for sale and selling Counterfeit SUPREME Products to consumers in this

 Judicial District and throughout the United States. Despite Plaintiff’s enforcement efforts,

 Defendants have persisted in creating the Defendant Internet Stores. E-commerce sales, including

 through Internet stores like those of Defendants, have resulted in a sharp increase in the shipment

 of unauthorized products into the United States. Exhibit 6, Excerpts from Fiscal Year 2018 U.S.

 Customs and Border Protection (“CBP”) Intellectual Property Seizure Statistics Report. Over



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90% of all CBP intellectual property seizures were smaller international mail and express

shipments (as opposed to large shipping containers). Id. Over 85% of CBP seizures originated

from mainland China and Hong Kong. Id. Counterfeit and pirated products account for billions

in economic losses, resulting in tens of thousands of lost jobs for legitimate businesses and

broader economic losses, including lost tax revenue.

       27.     Defendants often facilitate sales by designing the Defendant Internet Stores so that

they appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers,

and/or advertise their products as “replica” goods. These Defendant Internet Stores appear

sophisticated and accept payment in U.S. dollars via credit cards, Alipay, Amazon Pay, Western

Union and/or PayPal. The Defendant Internet Stores frequently include content and images that

make it very difficult for consumers to distinguish such stores from an authorized retailer.

Defendants further perpetuate the illusion of legitimacy by offering customer service and using

indicia of authenticity and security that consumers have come to associate with authorized

retailers, including the Visa®, MasterCard®, and/or PayPal® logos. Plaintiff has not licensed or

authorized Defendants to use any of the SUPREME Trademarks, and none of the Defendants are

authorized retailers of genuine SUPREME Products.

       28.     Many Defendants also deceive unknowing consumers by using the SUPREME

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract consumers searching for genuine SUPREME Products. Additionally, upon

information and belief, Defendants use other unauthorized search engine optimization (SEO)

tactics and social media spamming so that the Defendant Internet Stores listings show up at or near

the top of relevant search results and misdirect consumers searching for genuine SUPREME

Products. Other Defendants only show the SUPREME Trademarks in product images while using



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strategic item titles and descriptions that will trigger their listings when consumers are searching

for genuine SUPREME Products.

        29.    Defendants often go to great lengths to conceal their identities and often use

multiple fictitious names and addresses to register and operate their network of Defendant Internet

Stores. For example, certain of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their counterfeiting operation, and to avoid being shut

down.

        30.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, many of the Defendant

websites have virtually identical layouts, even though different aliases were used to register the

respective domain names. In addition, Counterfeit SUPREME Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another, suggesting

that the Counterfeit SUPREME Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or



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similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images.

       31.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

domain names or online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down

demands sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection.

       32.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiff’s enforcement efforts.        On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

or other financial accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-shore

counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       33.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the SUPREME Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit SUPREME Products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the




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United States, including Illinois, and, on information and belief, each Defendant has sold

Counterfeit SUPREME Products into the United States, including Illinois.

       34.     Defendants’ unauthorized use of the SUPREME Trademarks in connection with

the advertising, distribution, offering for sale, and sale of Counterfeit SUPREME Products,

including the sale of Counterfeit SUPREME Products into the United States, including Illinois, is

likely to cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       35.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 34.

       36.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered SUPREME

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The SUPREME Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from SUPREME Products offered, sold or marketed under the

SUPREME Trademarks.

       37.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the SUPREME Trademarks without Plaintiff’s permission.

       38.     Plaintiff is the exclusive owner of the SUPREME Trademarks. Plaintiff’s United

States Registrations for the SUPREME Trademarks (Exhibit 5) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the SUPREME

Trademarks, and are willfully infringing and intentionally using counterfeit versions of the

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SUPREME Trademarks. Defendants’ willful, intentional and unauthorized use of the SUPREME

Trademarks is likely to cause and is causing confusion, mistake, and deception as to the origin and

quality of the Counterfeit SUPREME Products among the general public.

       39.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       40.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of the

SUPREME Trademarks.

       41.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Counterfeit SUPREME Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       42.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 41.

       43.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

SUPREME Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ Counterfeit SUPREME Products by Plaintiff.

       44.     By using the SUPREME Trademarks on the Counterfeit SUPREME Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit SUPREME Products.




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       45.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit SUPREME Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       46.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the associated goodwill of

the Supreme brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       47.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 46.

       48.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their Counterfeit SUPREME Products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

SUPREME Products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

       49.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       50.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the SUPREME Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine SUPREME

           Product or is not authorized by Plaintiff to be sold in connection with the SUPREME

           Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           SUPREME Product or any other product produced by Plaintiff, that is not Plaintiff’s

           or not produced under the authorization, control, or supervision of Plaintiff and

           approved by Plaintiff for sale under the SUPREME Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit SUPREME Products are those sold under the authorization, control or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

           Plaintiff;

       d. further infringing the SUPREME Trademarks and damaging Plaintiff’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear any of Plaintiff’s trademarks, including the SUPREME

           Trademarks, or any reproductions, counterfeit copies or colorable imitations thereof;




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2) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiff, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiff’s

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating      Company,      LLC      (“GoDaddy”),       Name.com,       PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiff’s

   selection; or that the same domain name registries shall disable the Defendant Domain Names

   and make them inactive and untransferable;

3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and those with

   notice of the injunction, including, without limitation, any online marketplace platforms such

   as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts, sponsored

   search engine or ad-word providers, credit cards, banks, merchant account providers, third

   party processors and other payment processing service providers, Internet search engines such

   as Google, Bing and Yahoo, and domain name registrars, including, but not limited to,

   GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using the SUPREME Trademarks;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit and infringing goods using the SUPREME

           Trademarks; and



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       c. take all steps necessary to prevent links to the Defendant Domain Names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the SUPREME Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiff be awarded maximum statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) for each and every use of the SUPREME

   Trademarks;

6) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.

Dated this 12th day of September 2019.        Respectfully submitted,


                                              /s/ Justin R. Gaudio
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